
50 So.3d 42 (2010)
Melanie DUGUAY, Appellant,
v.
PROGRESSIVE CORPORATION/ST. PAUL TRAVELERS, Appellees.
No. 1D10-2700.
District Court of Appeal of Florida, First District.
November 22, 2010.
Rehearing Denied December 16, 2010.
*43 Joseph M. Rooth of The Rooth Law Firm, P.A., New Port Richey, and Richard W. Ervin, III, of Fox &amp; Loquasto, P.A., Tallahassee, for Appellant.
Beatriz E. Justin and Nicolette E. Tsambis of Rissman, Barrett, Hurt, Donahue &amp; McLain, P.A., Tampa, for Appellees.
PER CURIAM.
Claimant raises four issues in this workers' compensation appeal. Finding no reversible error, we affirm the Final Compensation Order in all respects. We reject Claimant's argument that the Judge of Compensation Claims erred in denying continuing authorization of Dr. Maser. In context, we read the Final Compensation Order as denying continuing authorization of Dr. Maser only for treatment related to the unauthorized surgery.
AFFIRMED.
DAVIS, HAWKES and THOMAS, JJ., concur.
